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                                                                                          March 01, 2025 through March 31, 2025
        JPMorgan Chase Bank, N.A.
                                                                                         Account Number:                     8307
        P O Box 182051
        Columbus, OH 43218 - 2051
                                                                                          Customer Service Information

                                                                                     If you have any questions about your
                                                                                     statement, please contact your
                                                                                     Customer Service Professional.
       00089696 WBS 802 211 09125 NNNNNNNNNNN   1 000000000 80 0000


       DIAMOND SELECT TOYS & COLLECTIBLES, LLC
       10150 YORK RD
       HUNT VALLEY MD 21030-3340




Commercial Checking

Summary
                                                                      Number                  Market Value/Amount                      Shares


Opening Ledger Balance                                                                               $3,493.01


Deposits and Credits                                                     49                       $214,536.62


Withdrawals and Debits                                                   19                       $193,050.54


Checks Paid                                                              16                         $17,652.08


Ending Ledger Balance                                                                                $7,327.01


Deposits and Credits

Ledger              Description                                                                                                     Amount

Date


03/03              JPMorgan Access Transfer From Account                          5979                                            $10,000.00
                   YOUR REF: 1005949062SB

03/05              JPMorgan Access Transfer From Account                          5979                                             50,000.00
                   YOUR REF: 1005789064SB

03/10              Remote Online Deposit            8307                                                                             119.40

03/10              JPMorgan Access Transfer From Account                          5979                                             60,000.00
                   YOUR REF: 1005091069SB

03/12              Deposit     1156253725                                                                                           6,288.00

03/13              Orig CO Name:Paymentech                 Orig ID:1020401225 Desc Date:250313                                     23,037.01
                   CO Entry Descr:Deposit       Sec:CCD     Trace#:021000023937199 Eed:250313
                   Ind ID:6405517                  Ind Name:Diamond Select Toys & Trn:
                   0723937199Tc

03/13              Orig CO Name:Paymentech                 Orig ID:1020401225 Desc Date:250313                                      5,233.94
                   CO Entry Descr:Deposit       Sec:CCD     Trace#:021000023937196 Eed:250313
                   Ind ID:6405517                  Ind Name:Diamond Select Toys & Trn:
                   0723937196Tc




* Annual Percentage Yield Earned - the percentage rate earned if balances remain on deposit for a full year with compounding, no

change in the interest rate and all interest rate and all interest is left in the account.



Please examine this statement of account at once. By continuing to use the account, you agree that: (1) the account is subject to

the Bank's deposit account agreement, and (2) the Bank has no responsibility for any error in or improper charge to the account

(including any unauthorized or altered check) unless you notify us in writing of this error or charge within sixty days of the mailing or

availability of the first statement on which the error or charge appears.
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                                                                            March 01, 2025 through March 31, 2025
                                                                           Account Number:                    8307




Deposits and Credits      (continued)


Ledger     Description                                                                                              Amount

Date


03/13      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250313                               5,200.06
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023937220 Eed:250313
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0723937220Tc

03/13      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250313                               4,241.36
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023937195 Eed:250313
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0723937195Tc

03/13      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250313                               3,560.78
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023937209 Eed:250313
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0723937209Tc

03/13      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250313                               2,797.74
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023937200 Eed:250313
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0723937200Tc

03/13      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250313                               2,735.75
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023937215 Eed:250313
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0723937215Tc

03/13      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250313                               2,257.74
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023937203 Eed:250313
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0723937203Tc

03/13      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250313                               2,234.97
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023937212 Eed:250313
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0723937212Tc

03/13      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250313                               1,675.31
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023937219 Eed:250313
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0723937219Tc

03/13      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250313                               1,636.16
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023937214 Eed:250313
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0723937214Tc

03/13      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250313                               1,415.70
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023937198 Eed:250313
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0723937198Tc

03/13      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250313                               1,391.62
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023937208 Eed:250313
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0723937208Tc

03/13      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250313                               1,000.98
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023937210 Eed:250313
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0723937210Tc

03/13      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250313                                883.61
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023937216 Eed:250313
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0723937216Tc

03/13      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250313                                754.81
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023937213 Eed:250313
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0723937213Tc




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Deposits and Credits      (continued)


Ledger     Description                                                                                              Amount

Date


03/13      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250313                               685.10
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023937204 Eed:250313
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0723937204Tc

03/13      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250313                               658.26
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023937202 Eed:250313
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0723937202Tc

03/13      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250313                               359.75
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023937217 Eed:250313
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0723937217Tc

03/13      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250313                               260.73
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023937207 Eed:250313
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0723937207Tc

03/13      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250313                               187.19
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023937197 Eed:250313
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0723937197Tc

03/13      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250313                               152.20
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023937201 Eed:250313
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0723937201Tc

03/13      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250313                               101.37
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023937205 Eed:250313
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0723937205Tc

03/13      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250313                                86.12
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023937206 Eed:250313
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0723937206Tc

03/13      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250313                                11.96
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023937211 Eed:250313
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0723937211Tc

03/13      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250313                                 5.98
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000023937218 Eed:250313
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0723937218Tc

03/14      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250314                               555.19
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000027044994 Eed:250314
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0737044994Tc

03/17      Remote Online Deposit           8307                                                                     433.39

03/17      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250317                               168.36
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000028317851 Eed:250317
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0768317851Tc

03/17      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250317                               103.22
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000028317849 Eed:250317
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0768317849Tc

03/18      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250318                               366.76
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000026156145 Eed:250318
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0776156145Tc



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                                                                           Account Number:                    8307




Deposits and Credits      (continued)


Ledger     Description                                                                                              Amount

Date


03/19      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250319                               1,439.33
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000022486770 Eed:250319
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0782486770Tc

03/21      Remote Online Deposit           8307                                                                      224.74

03/21      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250321                                183.96
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000026325281 Eed:250321
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0806325281Tc

03/24      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250324                               3,369.02
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000022100565 Eed:250324
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0832100565Tc

03/25      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250325                                240.82
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000021866274 Eed:250325
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0841866274Tc

03/26      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250326                                295.91
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000026525432 Eed:250326
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0856525432Tc

03/27      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250327                                 95.20
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000029474160 Eed:250327
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0869474160Tc

03/28      Remote Online Deposit           8307                                                                      202.09

03/28      JPMorgan Access Transfer From Accoun                   5979                                         15,000.00
           YOUR REF: 1005489087SB

03/28      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250328                               1,619.87
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000025890314 Eed:250328
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0875890314Tc

03/31      Remote Online Deposit           8307                                                                      161.66

03/31      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250331                                590.43
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000021897071 Eed:250331
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0901897071Tc

03/31      Orig CO Name:Paymentech                Orig ID:1020401225 Desc Date:250331                                513.07
           CO Entry Descr:Deposit       Sec:CCD    Trace#:021000021897069 Eed:250331
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0901897069Tc

Total                                                                                                      $214,536.62



Withdrawals and Debits

Ledger     Description                                                                                              Amount

Date

03/03      Orig CO Name:Diamond Select T           Orig ID:9108307001 Desc Date:Prfund                         $7,060.00
           CO Entry Descr:Corp Pay Sec:CCD          Trace#:021000029236926 Eed:250303
           Ind ID:9108307001                Ind Name:EFT File Name: Rp0625Z     ACH
           Origin#:9090209001 CO Eff: 25/ 03/03                             250303
           Rp0625Zr Trn: 0629236926Tc

03/05      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                          34,312.02
           - ADP55S6Q-A/Bnf/Rbi - ADP55S6Q-A Trn: 8149800064Jo
           YOUR REF: NONREF




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                                                                          Account Number:                    8307




Withdrawals and Debits      (continued)

Ledger     Description                                                                                             Amount

Date

03/06      Book Transfer Debit A/C: ADP Client Trust San Dimas CA 91773- US Ref: Rbi                          13,667.86
           - ADP55S6Q-A/Bnf/Rbi - ADP55S6Q-A Trn: 7819200065Jo
           YOUR REF: NONREF

03/06      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                               334.73
           - ADP55S6Q/Bnf/Rbi - ADP55S6Q Trn: 7820100065Jo
           YOUR REF: NONREF

03/10      Book Transfer Debit A/C: Imagine Fulfillment Services LLC LA Mirada CA                                  6,009.78
                 5802 US Ref: Inv 46341 Trn: 7790500069Jo
           YOUR REF: NONREF

03/10      Book Transfer Debit A/C: The Royal Bank of Scotland Plc London United                                   1,600.00
           Kingdom Ec2M -4Aa Gb Ref: Inv 0382 Trn: 7790300069Jo
           YOUR REF: NONREF

03/10      Chips Debit Via: Hsbc Bank USA, N.A./0108 A/C: Hongkong And Shanghai                                    7,950.00
           Banking Corpohong Kong Hong Kong Hk Ben: Pd Workshop Limited Hk Ref:
           Inv 20250301 Ssn: 00631966 Trn: 7790400069Jo
           YOUR REF: NONREF

03/10      Chips Debit Via: Bank of America, N.A./0959 A/C: The Bank of Nova Scotia                                4,660.00
           Toronto Canada CA Ben: Barry Bradfield Ottawa, On, K1V 7J1 CA Ref: Inv
           Aa302 Ssn: 00631944 Trn: 7789900069Jo
           YOUR REF: NONREF

03/10      Book Transfer Debit A/C: Canadian Imperial Bank of Commerce Toronto On                                  2,460.00
           M5L 1-A2 CA Ben:/         8097 Dragon Product Design CO Ref:/Lmpd/Inv#
           17386, 17387 Trn: 7790000069Jo
           YOUR REF: NONREF

03/10      Orig CO Name:Diamond Select T         Orig ID:9108307001 Desc Date:Prfund                          28,325.87
           CO Entry Descr:Corp Pay Sec:CCD        Trace#:021000021499698 Eed:250310
           Ind ID:9108307001               Ind Name:EFT File Name: Rp0693K      ACH
           Origin#:9090209001 CO Eff: 25/ 03/10                           250310
           Rp0693Ke Trn: 0691499698Tc

03/12      Orig CO Name:Diamond Select T         Orig ID:9108307001 Desc Date:Prfund                               5,000.00
           CO Entry Descr:Corp Pay Sec:CCD        Trace#:021000022801297 Eed:250312
           Ind ID:9108307001               Ind Name:EFT File Name: Rp0713W      ACH
           Origin#:9090209001 CO Eff: 25/ 03/12                           250312
           Rp0713Wl Trn: 0712801297Tc

03/17      Account Analysis Settlement Charge                                                                       645.47

03/19      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                         32,674.73
           - ADP55Ss6Q-A/Bnf/Rbi - ADP55S6Q-A Trn: 7401000078Jo
           YOUR REF: NONREF

03/21      Book Transfer Debit A/C: ADP Client Trust Wilmington DE 19801- US Ref: Rbi                               331.19
           - ADP55S6Q/Bnf/Rbi - ADP55S6Q Trn: 8045700080Jo
           YOUR REF: NONREF

03/21      Book Transfer Debit A/C: ADP Client Trust San Dimas CA 91773- US Ref:                              12,763.09
           Rbi-ADP55S6Q-A/Bnf/Rbi - ADP55S6Q-A Trn: 8329500080Jo
           YOUR REF: NONREF

03/25      Book Transfer Debit A/C: Imagine Fulfillment Services LLC LA Mirada CA                                  5,091.40
                 5802 US Trn: 7314900084Jo
           YOUR REF: NONREF

03/26      Orig CO Name:Jp Morgan Chase           Orig ID:XX-XXXXXXX Desc Date:032525                         17,707.01
           CO Entry Descr:Comm Card Sec:CCD         Trace#:021000029645343
           Eed:250326    Ind ID:556375790004890            Ind Name:Diamond Select
           Autopay Trn: 0859645343Tc

03/28      Fedwire Debit Via: Key Gr Lakes Cleve/       1039 A/C: Rcm&D, Inc US Ref:                          12,416.62
           Inv 136046 Imad: 0328Mmqfmp2M038086 Trn: 9247500087Jo
           YOUR REF: NONREF

03/31      Orig CO Name:Paymentech              Orig ID:1020401225 Desc Date:250331                                  40.77
           CO Entry Descr:Deposit   Sec:CCD      Trace#:021000024272150 Eed:250331
           Ind ID:6405517                 Ind Name:Diamond Select Toys & Trn:
           0904272150Tc


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                                                                                     Account Number:                       8307




Withdrawals and Debits               (continued)

Ledger              Description                                                                                                  Amount

Date

Total                                                                                                                    $193,050.54




Checks Paid

         Check     Date Paid        Amount          Check    Date Paid         Amount           Check     Date Paid              Amount

        102886     03/03          $1,000.00        102899    03/19           $2,500.00         102906      03/17            $1,200.00
        102894*    03/04            $180.70        102900    03/19           $1,290.00         102907      03/31                  $60.00
        102895     03/10          $4,000.00        102901    03/19            $952.70          102908      03/17            $1,200.00
        102896     03/12          $4,348.99        102904*   03/18            $542.34          102909      03/21                 $105.00
        102897     03/24             $17.05        102905    03/20            $126.43          102910      03/26                 $126.43
        102898     03/24              $2.44


Total          16 check(s)                                                                                               $17,652.08
* indicates gap in sequence

Daily Balance


                                                      Ledger                                                                     Ledger

Date                                                 Balance         Date                                                        Balance

03/03                                               $5,433.01        03/19                                                $33,617.67
03/04                                               $5,252.31        03/20                                                $33,491.24
03/05                                              $20,940.29        03/21                                                $20,700.66
03/06                                               $6,937.70        03/24                                                $24,050.19
03/10                                              $12,051.45        03/25                                                $19,199.61
03/12                                               $8,990.46        03/26                                                  $1,662.08
03/13                                              $71,556.66        03/27                                                  $1,757.28
03/14                                              $72,111.85        03/28                                                  $6,162.62
03/17                                              $69,771.35        03/31                                                  $7,327.01
03/18                                              $69,595.77




                  Your service charges, fees and earnings credit have been calculated through account analysis.




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                                                                                   March 01, 2025 through March 31, 2025
                                                                                 Account Number:                         8307




       Diamond Select Toys & Collectibles, LLC




Stop Payment Renewal Notice


Account Number 000000388108307                                                                       Bank Number:         802




The following Stop Payments will automatically renew for a 1-year period. You can revoke a current stop payment via your
online channel (Chase.com or JPM ACCESS) or by calling the number on your statement or contacting your Customer
Service Representative.



Revoke           Sequence          Date              Renewal                  Low Range or                         High Range

Stop             Number            Entered           Date                    Check Number                            or Amount

                 0000001           06/17/2019        06/17/2025                     100052                         $30,150.00
                 0000010           06/14/2023        06/14/2025                     102421                           $5,260.00




Diamond Select Toys & Collectibles, LLC                                                JPMorgan Chase Bank, N.A.
10150 York Rd                                                                          P O Box 182051
Hunt Valley MD 21030-3340                                                              Columbus    OH 43218-2051




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